                         UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF ARIZONA
    In re:                                               Case No. 2:19-bk-03200-BKM

                                                         CHAPTER 13 PLAN

                                                            Original
    Kevin Michael Herrera
    Kimberly Dawn Herrera                                   Amended
                                                            Modified
                                                            Payments include post-petition mortgage payments
                         Debtor(s).                         Flat Fee/Administrative Expense
                                                            Hourly Fee/Administrative Expense

This Plan1 includes the following (check all that are applicable):

    A limit on the amount of a secured claim, which may result in a partial payment or no payment
    to the secured creditor. See Section (C)(5)(b).
    Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest. See Section
    (C)(5)(c).
    Nonstandard Provisions. See Section (H).

Your rights may be affected by this Plan. Your claim may be reduced, modified or eliminated. If you
object to the treatment of your claim as proposed in this Plan or to any provision of this Plan, you must
file a written objection by the deadline set forth below. The Bankruptcy Court may confirm this Plan
without further notice if no objection is filed and the order is approved by the Trustee. See Bankruptcy
Rule 3015 and Local Rule 2084-13.

This Chapter 13 Plan is proposed by the above Debtor2. The Debtor certifies that the information
contained in this Plan is accurate. A creditor who disagrees with the proposed treatment of its debt in this
Plan must timely file an objection to the Plan and serve copies on the Debtor, Debtor’s attorney (if any),
and the Chapter 13 Trustee not less than 14 days after the date set for the first meeting of creditors, or any
continuation of such meeting, or 28 days after service of the Plan, whichever is later. See Local Rule
2084-9.

This Plan does not allow claims or alter the need for timely filing any claim. For a creditor to receive a
distribution for an unsecured claim, the creditor must file a proof of claim with the Court.

If confirmed, the Plan will modify the rights and duties of the Debtor and creditors, except secured
creditors will retain their liens until the earlier of payment of the underlying debt or Debtor’s discharge
under Code § 132833. If the case is dismissed or converted to another chapter (for example, Chapter 7)
without completion of the Plan, each lien shall be retained to the extent recognized by applicable
nonbankruptcy law.

Pre-petition defaults will be cured using the interest rate set forth in the Plan or Code § 511, if applicable.
Any ongoing obligation will be paid according to the terms of the Plan.

1
  “Plan” includes the original plan and any amended and modified plan.
2
  If this is a joint case, then “Debtor” means both Debtors.
3
  “Code” means the United States Bankruptcy Code, 11 U.S.C. § 101 et seq.


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  This is an Amended or Modified Plan.
The reason(s) why Debtor filed this Amended or Modified Plan:
Summarize how the Plan varies from the last Plan filed:

(A) Plan Payments and Property to be Submitted to the Trustee.

      Plan payments start on April 21,2019. The Debtor shall pay the Trustee as follows:

      $0.00 each month for month 1 through month 1
      $500.00 each month for month 2 through month 2
      $1,050.00 each month for month 3 through month 60

      The proposed Plan duration is 60 months. The applicable commitment period is 36 months. See Code
      § 1325(b)(4). In addition to plan payments and, if applicable, mortgage conduit payments, Debtor will
      submit the following property to the Trustee:

         -NONE-

(B)      Trustee’s Percentage Fee. The Trustee shall collect upon receipt a percentage fee from all plan
         payments (including mortgage payments) and property received, not to exceed 10%.

(C)      Administrative Expenses and All Claims.

         (1)      Until the Court confirms the Plan the Trustee will make adequate protection payments
                  under Section (C)(1)(a) below, mortgage conduit payments under Section (C)(1)(b), if
                  applicable, and pay other sums as ordered by the Court. Other disbursements will be made
                  after the Court confirms the Plan. Unless otherwise provided for in Section (H) below,
                  disbursements by the Trustee shall be pro rata within classes and made in the following
                  order:
                  (a) Adequate protection payments to creditors secured by personal property.

                     None. If “None” is checked, the rest of Section (C)(1)(a) is not to be completed.

                  Pursuant to Local Rule 2084-6, the Trustee is authorized to make monthly pre-
                  confirmation adequate protection payments to a secured creditor without a Court order,
                  provided the claim is properly listed on Schedule D, a secured proof of claim is filed that
                  includes documentation evidencing a perfected security agreement, and the Debtor or
                  creditor sends a letter to the Trustee requesting payment. The Trustee will apply adequate
                  protection payments to the creditor’s secured claim. After confirmation, adequate
                  protection payments will continue until the claim is paid in full, unless the confirmed Plan
                  or a Court order specifies a different treatment. If a creditor disagrees with the amount of
                  the proposed adequate protection payments or the Plan fails to provide for such payments,
                  the creditor may file an objection to confirmation of this Plan and/or file a motion pursuant
                  to Code §§ 362 or 363.

                                                                                    Collateral        Monthly
                      Creditor                  Property Description
                                                                                      Value           Amount
               PFG Funding               2008 Chevrolet Impala                   $2,800.00          $28.00
               Ally Financial            2014 Nissan Murano                      $12,000.00         $120.00


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                  Nonstandard Provisions. See Section (H).

               (b) Mortgage Conduit Payments.

                  None.

               The Trustee shall disburse Conduit Payments to a Real Property Creditor without regard
               to whether the Court has confirmed a Plan or the Real Property Creditor has filed a proof
               of claim. See Section (C)(4)(c) and Local Rule 2084-4.

       (2) Administrative expenses. Code § 507(a)(2).

               (a) Attorney fees. Debtor’s attorney has agreed to:

                   A flat fee of $ 4,500.00 , of which $ 0.00 was paid before the filing of the case
                  (See Local Rule 2084-3);

                  or

                  File a fee application for payment of a reasonable amount of fees. The estimated amount
                  of fees to be paid by the Trustee, subject to Court order, is $            , of which $
                                 was paid before the filing of the case.

               (b) Additional Services. Counsel for the Debtor has agreed to charge a flat fee for the
                   following additional services provided to the Debtor:

                   (i) Before Confirmation:

                       Adversary proceedings $ 1,000.00 .
                       Lien Avoidance Actions $ 1,000.00 .
                       Preparing and filing of any motion to sell property $ 1,000.00 .
                       Other Flat Fees for : Motion to Incur New Debt: $1,000.00 .

                   (ii) After Confirmation:

                       Preparing and filing of Modified Plan $ 1,000.00 .
                       Responding to motion to dismiss and attendance at hearings $ 1,000.00 .
                       Defending motion for relief from the automatic stay $ 1,000.00 .
                       Adversary proceedings $ 0.00 .
                       Lien Avoidance Actions $ 1,000.00 .
                       Preparing and filing of any motion to sell property $ 1,000.00 .
                       Other Flat Fees for : Motion to Incur New Debt: $1,000.00 .

                   All other additional services will be billed at the rate of $ 350.00 per hour for attorney
                   time and $ 150.00 per hour for paralegal time. Counsel will file and notice a separate
                   fee application detailing the additional fees and costs requested. Counsel will include
                   all time expended in the case in the separate fee application.

                (c) Other Professional Expenses: none.



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       (3) Leases and Unexpired Executory Contracts.

             None. If “None” is checked, the rest of Section (C)(3) is not to be completed.

          Pursuant to Code § 1322(b), the Debtor assumes or rejects the following lease or unexpired
          executory contract. For a lease or executory contract with sums owing, the arrearage will be
          cured by periodic plan payments. Unless the Court orders otherwise, the arrearage amount shall
          be the amount stated in the creditor’s allowed proof of claim.

          (a) Assumed.

             No interest will be paid on the prepetition arrearage unless otherwise stated in Nonstandard
             Provisions at Section (H). A creditor identified in this paragraph may mail to the Debtor all
             correspondence, notices, statements, payment coupons, escrow notices, and default notices
             concerning any change to the monthly payment or interest rate without such being a
             violation of the automatic stay.

                                                                               Estimated      Arrearage
                Creditor                    Property Description              Arrearage        Through
                                                                                Amount          Date
      Front Porch Realty          Residential Lease Agreement                $0.00           3/2019
            Nonstandard Provisions. See Section (H).

          (b) Rejected.

                  Creditor                                       Property Description

             Nonstandard Provisions. See Section (H).

       (4) Creditors with a Security Interest in Real Property.

              None. If “None” is checked, the rest of Section (C)(4) is not to be completed.

           (a) Claim Wholly Unsecured. The Debtor considers any real property creditor listed below
               to have an unsecured claim under Code § 506(a) as senior liens are greater in amount than
               the value of the real property. Unless disallowed or otherwise ordered, each of the
               following shall be classified as a wholly unsecured claim under Section (C)(7) below.
               This provision shall not alter the status of a claim otherwise entitled to be classified as a
               priority under Code § 507(a)(8).

                                                                         Total Amount of Liens with
       Creditor    Property Description      Value of Collateral
                                                                              Greater Priority


           (b) No Pre-Petition Mortgage Arrears. To the extent there are no pre-petition arrears, regular
               post-petition mortgage payments shall be paid directly by the Debtor to the secured
               creditor.

             Creditor                  Property Address                Post-Petition Payments by Debtor


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           (c) Curing of Default and Maintenance of Payments. Prepetition arrearages, including fees
               and costs, as well as the regular post-petition payments shall be paid through the Plan by
               the Trustee. No interest will be paid on the prepetition arrearage unless otherwise stated
               in Nonstandard Provisions. Unless the Court orders otherwise, the arrearage amount shall
               be the amount stated in the creditor’s allowed proof of claim.

               A creditor identified in this paragraph may mail the Debtor all correspondence, notices,
               statements, payment coupons, escrow notices, and default notices concerning any change
               to the monthly payment or interest rate without violating the automatic stay.

                                                                                  Estimated
                                                                                  Arrearage
                                                                                                  Interest Rate,
      Creditor or Property          Property             Current Monthly           Amount
                                                                                                  if Applicable
        Servicing Agent            Description              Payment               Owed and
                                                                                                   (i.e. HOA’s)
                                                                                  Date Owed
                                                                                   Through

              Nonstandard Provisions. See Section (H).

       (5) Claims Secured by Personal Property or a Combination of Real and Personal Property.

              None. If “None” is checked, the rest of Section (C)(5) is not to be completed.

           Claims under paragraphs (a) and (b) that are included in the plan payment will be paid
           concurrently and pro rata.

           (a) Unmodified Secured Claims.

                  None. If “None” is checked, the rest of Section (C)(5)(a) is not to be completed.

       A claim stated in this subparagraph (i.e. 910 claims) will be paid in full under the Plan with interest
       at the rate stated below, which may vary from the contract interest rate. Unless otherwise ordered,
       the principal amount to be paid will be as stated in the creditor’s proof of claim. The holder of a
       claim will retain the lien until the earlier of payment of the underlying debt determined under
       nonbankruptcy law or discharge under Code § 1328, at which time the lien will terminate and
       shall be released by the creditor. Federal tax liens shall continue to attach to property excluded
       from the bankruptcy estate under Code § 541(c)(2) until the Internal Revenue Service is required
       to release the liens in accordance with nonbankruptcy law.

       Creditor Property Description Estimated Amount to be Paid on Secured Claim Proposed Interest
       Rate

                                                                                      Estimated
                                                                                                       Proposed
                                                                                     Amount to be
                Creditor                         Property Description                                   Interest
                                                                                       Paid on
                                                                                                          Rate
                                                                                    Secured Claim
      Ally Financial                  2014 Nissan Murano                            $18,505.52        5%




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         This debt has nonfiling codebtor(s) other than a spouse.
               Name(s) of other individual(s) liable:
               Post-petition payments to be made by:       Trustee; or      Nonfiling codebtor.

                  Nonstandard Provisions. See Section (H).

           (b) Modified Secured Claims.

                  None. If “None” is checked, the rest of Section (C)(5)(b) is not to be completed.

               Secured creditors listed below shall be paid the amount shown below as the Amount to be
               Paid on Secured Claim, with such amount paid through the Plan payments. If the Plan
               proposes to pay a Secured Claim less than the amount asserted in the proof of claim, then
               the holder of the Secured Claim must file a timely objection to the Plan. If the principal
               amount of the creditor’s proof of claim is less than the Amount to be Paid on Secured
               Claim, then only the proof of claim amount will be paid. If a creditor fails to file a secured
               claim or files a wholly unsecured claim, the debtor may delete the proposed payment of a
               secured claim in the order confirming plan. The holder of a timely filed secured claim will
               retain its lien until the earlier of payment of the underlying debt determined under
               nonbankruptcy law or discharge under Code § 1328, at which time the lien will terminate
               and shall be released by the creditor. Any proposed adequate protection payments are
               provided for in Section (C)(1)(a) above.


                                                                                         Amount to
                                                                  Value of Collateral                  Proposed
                                                 Debt                                    be Paid on
      Creditor and Property Description                             and Valuation                       Interest
                                                Amount                                    Secured
                                                                       Method                             Rate
                                                                                           Claim
      PFG Funding – 2008 Chevy Impala    $5,604.00            $2,800.00                  $2,800.00     7.5%
      American First Finance – Furniture $799.00              $350.00                    $350.00       0%
      Rent-A-Center – Furniture          $1,000.00            $350.00                    $350.00       0%
      Spencer’s – Appliances             $2,200.00            $350.00                    $350.00       0%
            Nonstandard Provisions. See Section (H).

           (c) Lien Avoidance.

                  None. If “None” is checked, the rest of Section (C)(5)(c) need not be completed.

               The judicial liens or nonpossessory, nonpurchase money security interests securing the
               claims listed below impair exemptions to which the debtor(s) would have been entitled
               under Code § 522(b). Unless ordered otherwise, a judicial lien or security interest securing
               a claim listed below will be avoided to the extent that it impairs such exemptions upon
               entry of the order confirming the plan. The amount of the judicial lien or security interest
               that is avoided will be treated as an unsecured claim in Section (C)(7) to the extent
               allowed. The amount, if any, of the judicial lien or security interest that is not avoided will
               be paid in full as a secured claim under the plan. See Code § 522(f) and Bankruptcy Rule
               4003(d). If more than one lien is to be avoided, provide the information separately for
               each lien. All information for the avoidance of the lien(s) must be provided.


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      Information Regarding Judicial           Information Regarding Calculation of Lien Avoidance and
          Lien or Security Interest                     Treatment of Remaining Secured claim


       (6) Priority, Unsecured Claims, Other Than Debtor’s Attorney Fees.

              None. If “None” is checked, the rest of Section (C)(6) is not to be completed.

           All allowed claims entitled to priority treatment under Code § 507 shall be paid in full, pro
           rata:

           (a) Unsecured Domestic Support Obligations. The Debtor shall remain current on such
               obligations that come due after filing the petition. Unpaid obligations before the petition
               date are to be cured in the plan payments. The amount to be paid will be adjusted to the
               creditor’s allowed claim amount, through the claim process. If the holder of a domestic
               support obligation disagrees with the treatment proposed in this Plan, the holder must file
               a timely objection.


                    Creditor                                          Estimated Arrearage
      Domestic Support Obligations Fees              $2,265.00
      Domestic Support Obligation Arrears            $23,000.00

           (b) Other unsecured priority claims.

                                                                                                 Estimated
                   Creditor                                Type of Priority Debt
                                                                                                  Amount
      IRS                                TAXES                                                 $0.00
      ADOR                               TAXES                                                 $0.00
                  Nonstandard Provisions. See Section (H).

       (7) Nonpriority, Unsecured Claims. Allowed unsecured, nonpriority claims shall be paid pro rata
           the balance of payments, if any, under the Plan. The amount to be paid or actually paid may
           differ from the Plan Analysis, depending on the Plan confirmation process and claims
           allowance.
              Nonstandard Provisions. See Section (H).

(D) Surrendered Property.

     None. If “None” is checked, the rest of Section (D) is not to be completed.

   Debtor surrenders the following property to the secured creditor. Upon confirmation of this Plan or
   except as otherwise ordered, bankruptcy stays are lifted as to the collateral to be surrendered. Any
   claim filed by such creditor shall receive no distribution until the creditor files a claim or an
   amended proof of claim that reflects any deficiency balance remaining on the claim. Should the
   creditor fail to file an amended deficiency claim consistent with this provision, the Trustee need not
   make any distributions to that creditor.

                            Entity                                 Brief Description of Property


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(E) Vesting. Except as stated in this paragraph, property of the estate shall vest in the Debtor upon
    confirmation of the Plan.

       The following property shall vest in the Debtor upon Plan completion:

                                                       Brief Description of Property

       Nonstandard Provisions. See Section (H).

(F) Tax Returns. While the case is pending, the Debtor shall provide to the Trustee a copy of any post-
    petition tax return within 14 days after filing the return with the tax agency. The Debtor has filed all
    tax returns for all taxable periods during the four-year period ending on the petition date, except:
    Unfiled Tax Returns

                                                             Unfiled Tax Returns
     -NONE-


(G) Funding Shortfall. Debtor will cure any funding shortfall before the Plan is deemed completed.

(H) Nonstandard Provisions. Any Nonstandard Provision included herein must not be inconsistent with
    the Code or Local Rules and must identify the provision of the Plan being modified, the proposed
    modification and the justification for the modification. Any Nonstandard Provision placed elsewhere
    in this Plan is void. The Debtor submits the following provisions that vary from Section (C) of the
    Local Plan Form:

       None. If “None” is checked, the rest of Section (H) is not to be completed.
       Provide the detail required above.

                                                          Nonstandard Provisions


(I) Plan Summary. If there are discrepancies between the Plan and this Plan Analysis, the provisions of
    the confirmed Plan control.

    (1) Trustee’s Compensation (10% of Total of Plan Payments to Trustee)................................ $                                       6,140.00
    (2) Administrative Expenses (§ (C)(2)) .................................................................................... $                 4,500.00
    (3) Leases and Executory Contracts (§ (C)(3)) ..........................................................................$                         0.00
    (4)(a) Conduit Mortgage Payments (§ (C)(4)(c)) .......................................................................$                           0.00
    (4)(b) Arrearage Claims Secured Solely by Real Property (§ (C)(4)(c))……………………... $                                                                0.00
    (5)(a) Claims Secured by Personal Property or Combination of Real & Personal Property
           (§ (C)(5)) - Unmodified.....................................................................................................$      20,953.32
    (5)(b) Claims Secured by Personal Property or Combination of Real & Personal Property
           (§ (C)(5)) - Modified…………………………………………………………… ……....$                                                                                4,505.68
    (6) Priority Unsecured Claims (§ (C)(6))....................................................................................$             25,265.00
    (7) Unsecured Nonpriority Claims (§ (c)(7)) .............................................................................$                     36.00
    (8) Total of Plan Payments to Trustee.........................................................................................$           61,400.00




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(J) Section 1325 analysis.

    (1) Best Interest of Creditors Test:

         (a) Value of Debtor’s interest in nonexempt property..................................................... $                                        0.00
         (b) Plus: Value of property recoverable under avoidance powers .................................. $                                                0.00
         (c) Less: Estimated Chapter 7 administrative expenses................................................... $                                         0.00
         (d) Less: Amount payable to unsecured, priority creditors...............................................$                                          0.00
         (e) Equals: Estimated amount payable to unsecured, nonpriority claims if Debtor filed
             Chapter 7.......................................................................................................................$              0.00

    (2) Section 1325(b) Analysis:

         (a) Monthly Disposable Income, Form B 122C-2 (if less than $0, then state $0)..............$                                      0.00
         (b) Applicable Commitment Period.................................................................................................. x 60
         (c) Total of Line (2)(a) amount x 60................................................................................... $          0.00

(3) Estimated Payment to Unsecured, Nonpriority Creditors Under Plan ...................................... $36.00

Certification by Debtor(s) and Attorney for Debtor(s): No changes were made to the Model Plan, other
than the possible inclusion of relevant Nonstandard Provisions in Section (H).

Dated:       April 30, 2019

/s/ Kevin Herrera
Kevin Herrera
Debtor

/s/ Kimberly Herrera
Kimberly Herrera

/s/ Nathan A. Finch
Attorney for Debtor




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